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                       IN THE UNITED STATES DISTRICT COURT
                      FOR THE SOUTHERN DISTRICT OF ILLINOIS

UNITED STATES OF AMERICA,                   )
                                            )
                             Plaintiff,     )
                                            )       CRIMINAL NO. 08-30170-DRH
              vs.                           )
                                            )
MARLON MANUEL,                              )
                                            )
                             Defendant.     )

            ORDER OF FINDING OF THIRD-PARTY INTERESTS
                   (FINAL ORDER OF FORFEITURE)

       On March 30, 2009, this court entered an order for forfeiture against defendant Marlon

Manuel for the following property which had been seized from said defendant:

       A.     ASSORTED JEWELRY CONSISTING OF:

              1.      Chain: 14w gents chain necklace;
              2.      Benny & Co. diamond chronograph watch w/10 “floating”
                      diamonds;
              3.      14k Horseshoe in a circle motif diamond pendant and chain; and
              4.      14k clapping hands in horseshoe motif diamond pendant and
                      chain.

       B.     One 2006 Mercedes Benz CLS 500, VIN: WDDDJ75X16A021106;

       C.     One 1961 Oldsmobile Starfire, VIN: 616C01229;

       D.     One 1966 Chevrolet Impala SS, VIN: 16437STL025732;

       E.     $75,000.00 in United States Currency; and

       F.     $7,890.00 in United States Currency.

       Said order further provided that the government would provide an opportunity for persons

to claim a legal interest in the property pursuant to 21 U.S.C. § 853(n)(1).

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       The court notes that notice was published by the government on an official government

website, www.forfeiture.gov, for 30 consecutive days beginning July 20, 2009, and ending August

18, 2009. No petition or claim was filed by any third party against said property except for

the claim of Mercedes Benz Financial Services d/b/a DC Financial Services America LLC as to

the 2006 Mercedes Benz CLS 500, VIN: WDDDJ75X16A021106.

       Consequently, the court hereby finds, pursuant to 21 U.S.C. § 853(n)(7), that no third-

party petitions were filed and that the United States of America has clear title to the following

property that is the subject of the Order of Forfeiture filed on February 10, 2009, namely:

       A.      ASSORTED JEWELRY CONSISTING OF:

                      1.      Chain: 14w gents chain necklace;
                      2.      Benny & Co. diamond chronograph watch w/10
                              “floating” diamonds;
                      3.      14k Horseshoe in a circle motif diamond pendant and
                              chain; and
                      4.      14k clapping hands in horseshoe motif diamond pendant
                              and chain.

               B.     One 1961 Oldsmobile Starfire, VIN: 616C01229;

               C.     One 1966 Chevrolet Impala SS, VIN: 16437STL025732;

               D.     $75,000.00 in United States Currency; and

               E.     $7,890.00 in United States Currency

       The United States Marshal shall dispose of the foregoing property according to law.

       With respect to the 2006 Mercedes Benz CLS 500, VIN: WDDDJ75X16A021106, with

all attachments, components, and accessories thereon, the Court and the United States recognize

that Mercedes Benz Financial Services d/b/a DC Financial Services America LLC has a lien to

said vehicle as described in its Petition, that Mercedes Benz Financial Services d/b/a DC Financial

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Services America LLC is an “innocent owner” with respect to this forfeiture, that said lien is

thereby superior to the forfeiture interest of the United States in said vehicle, and that the amount

of any equity remaining in said vehicle to the United States after payment of said lien would not

justify the continued forfeiture of the vehicle by the United States. Said vehicle is hereby ordered

released from forfeiture, and the United States Marshal shall release custody and possession of said

vehicle to Mercedes Benz Financial Services d/b/a DC Financial Services America LLC or to its

attorney, and the United States shall not seek reimbursement from Mercedes Benz Financial

Services d/b/a DC Financial Services America LLC for the costs of storage for said vehicle.

Mercedes Benz Financial Services d/b/a DC Financial Services America LLC shall sell said

vehicle at a commercially reasonable sale, shall report to the United States Attorney’s Office at

Nine Executive Drive, Fairview Heights, Illinois 62208 within twenty days of said sale whether

or not there were any surplus proceeds from said sale above and beyond the amount owed to

Mercedes Benz Financial Services d/b/a DC Financial Services America LLC, and shall pay any

said surplusage within said twenty-day period to the United States Marshals Service at 750

Missouri Avenue, East St. Louis, Illinois 62201. The United States Marshals Service shall then

dispose of said surplusage as forfeited funds pursuant to law.




DATE: October 2, 2009
                                                      /s/    DavidRHer|do|
                                                      Chief Judge
                                                      United States District Court




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